                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

 CHRISTOPHER EARL SNIPES,                       )
                                                )
                                                )
                    Plaintiff,                  )     Case No. 1:18CV00025
                                                )
 v.                                             )     OPINION AND ORDER
                                                )
 THE SOUTHWEST VIRGINIA                         )     By: James P. Jones
 REGIONAL JAIL AUTHORITY,                       )     United States District Judge
                                                )
                    Defendant.                  )

       Rodney B. Rowlett, III, Shine & Rowlett, PLLC, Kingsport, Tennessee, for
 Plaintiff; Joseph A. Piasta, Johnson, Ayers & Matthews, P.L.C., Roanoke,
 Virginia, for Defendant.

          In this action arising out of the Family and Medical Leave Act (“FMLA”),

 plaintiff Christopher Earl Snipes alleges that defendant The Southwest Virginia

 Regional Jail Authority (“Jail Authority” or “the Authority”) violated the FMLA

 by terminating his employment in retaliation for his use of FMLA-protected leave.

 The Jail Authority has moved for summary judgment, arguing that it terminated

 Snipes’ employment for a legitimate, nondiscriminatory reason and Snipes cannot

 show that this reason was pretext for discrimination based on his use of FMLA

 leave.     For the reasons that follow, I will deny the defendant’s Motion for

 Summary Judgment.




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                                         I.

       The following facts taken from the summary judgment record are either

 undisputed or, where disputed, are presented in the light most favorable to the

 plaintiff as the nonmoving party.

       The Jail Authority operates four jails in Southwest Virginia. The Authority

 organizes its correctional officers in a paramilitary structure — they begin as

 officers and may progress in rank to corporal, sergeant, lieutenant, captain, and

 major. Officers directly supervise the inmate population and the jail’s day-to-day

 operations.   To prepare to take on a higher rank, officers may apply to be

 corporals, who are given additional responsibilities for disciplining inmates and

 training new officers. Sergeants supervise the officers on each shift and handle

 more serious inmate disciplinary processes. Lieutenants are shift commanders and

 are ultimately responsible for the functioning of each shift. Lieutenants also have

 administrative responsibilities, including determining the appropriate staffing for

 each shift, scheduling employees’ time off, and documenting and investigating any

 accidents that occur during the shifts. Captains supervise the lieutenants, and

 majors oversee all of the staff.

       Discipline of correctional officers is approached on a case-by-case basis and

 can be tailored to the rank of the officer. Supervisors may give employees verbal

 warnings, and the Authority’s employee handbook provides for formal disciplinary


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 actions, which include written counseling, written reprimands, suspension with or

 without pay, and termination of employment. Termination may occur after an

 employee commits multiple minor violations of the Authority’s policies or because

 of an employee’s poor job performance. Supervisory personnel are usually not

 demoted when issues arise; rather, they “move up and out.” Mot. Summ. J. Ex. 5,

 Kilgore Dep. 66:25, ECF No. 23-5.

       Snipes began working for the Jail Authority as an officer in 2005, and he

 became a corporal in 2007.        In 2010, he was promoted to sergeant, and in

 December 2012, he was promoted to lieutenant. During his time as a lieutenant, he

 oversaw the jail’s night shift.

       In 2015, Snipes’ wife developed a medical condition that was ultimately

 diagnosed as Cacchi-Ricci disease. As a result, she required inpatient care and

 experienced periods of incapacity. In October 2015, she underwent a medical

 procedure, and Snipes notified the Authority that he needed to take FMLA leave to

 care for her. The Authority approved his FMLA leave request, allowing him to

 take leave intermittently per doctor’s orders. On March 14, 2016, Snipes’ wife

 underwent another medical procedure, which her doctor determined would leave

 her incapacitated from March 14, 2016, to April 13, 2016. After both occasions,

 Snipes submitted to the Authority certifications from the doctor describing his

 wife’s health issues and the care she required. Snipes is uncertain of the exact


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 dates on which he took FMLA leave, but he did so intermittently between October

 2015 and March or April 2016.

       The Authority uses a form to notify employees of their eligibility for FMLA

 leave and their rights and responsibilities when taking this leave. Snipes’ form

 stated that, among other things, he was required to provide to the Authority every

 thirty days reports about his leave status and intent to return to work. The form

 also noted that he had a right under the FMLA to up to twelve weeks of leave. The

 Authority’s Human Resources Manager, Georgia Fitzgerald, testified in her

 deposition that employees using FMLA leave may be disciplined if they do not

 provide the Authority with the required status updates. Moreover, employees may

 be terminated if they exceed the twelve weeks of permitted leave.

       In March 2016, Larry Kilgore, then a captain supervising Snipes, met with

 Fitzgerald regarding Snipes’ leave. In a memorandum that Kilgore prepared on

 March 29, 2016, to document his conversations with Fitzgerald and Snipes, 1

 Kilgore noted that he had told Snipes that he was out of compliance with the

 Authority’s FMLA reporting requirements and the Authority would terminate him


       1
           “[H]earsay evidence, which is inadmissible at trial, cannot be considered on a
 motion for summary judgment.” Md. Highways Contractors Ass’n v. Md., 933 F.2d
 1246, 1251 (4th Cir. 1991). In his deposition, Kilgore stated that he prepared this
 memorandum on or about March 29, 2016, but he could not fully remember the meeting
 at the time of his deposition. Accordingly, I find the memorandum admissible as an
 exception against hearsay pursuant to Federal Rule of Evidence 803(5) as Kilgore’s
 recorded recollection.
                                           -4-

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 if he exceeded his twelve weeks of leave and did not communicate with Human

 Resources about his leave status. Snipes returned to work sometime after this

 conversation.

        On April 26, 2016, Snipes missed a scheduled supervisory meeting that

 Kilgore and Dwayne Lockhart, then a major, had expected him to attend. Shortly

 after the meeting was supposed to have begun, Lockhart called Snipes at home,

 and Snipes said that he had forgotten about the meeting and would try to arrive in

 time for the remainder of it. Lockhart told Snipes that they were going to begin

 without him and not to rush to arrive. Snipes came to the jail that day for his shift,

 which was after the supervisory meeting, but he did not arrive in time for any of

 the meeting.

       Also on April 26, Snipes received a written performance appraisal from the

 Authority, which described his leadership and staff relations as commendable, the

 second highest rating. It also described his ability to interact with others and his

 teamwork skills as distinguished, the highest rating. Snipes’ overall performance

 was characterized as competent, the median rating. According to the appraisal

 form, competent performance “clearly meets the requirements of the position” and

 “reflects a solid level of performance,” and “[c]ontinued performance at this level

 would be perfectly acceptable.”     Mot. Summ. J. Ex. 6, Kilgore Dep. Ex. 2 at 2,

 ECF No. 23-6. The appraisal also established three goals for Snipes to meet by the


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 end of the year, including spending more time in the back of the jail rather than in

 his office, and encouraging teamwork and building morale during his shifts.

       On May 10, a video recording showed Snipes using inappropriate language

 with an inmate. Kilgore later referenced this incident in a supervisory meeting,

 stating, “Let’s make sure we’re doing the right thing. . . . You know what I’m

 talking about, Snipes.” Mot. Summ. J. Ex. 1, Snipes Dep. 40:5–7, ECF No. 23-1.

       On May 24, Snipes met with Kilgore and Tony Mullins, an administrative

 lieutenant. Snipes told Kilgore that the procedure his wife had undergone on

 March 14 had not resolved her health problems and she would need to be seen at a

 clinic in Ohio. In what Snipes thought was a negative tone, Kilgore stated, “Snipes

 what are you going to do, you are out of time you cannot take anymore leave.”

 Mot. Summ. J. Ex. 3, Pl.’s Resp. to Def.’s Interrogs. 4, ECF No. 23-3. Snipes

 responded that he did not believe that he was out of leave time, and Kilgore told

 him to speak with Human Resources about his remaining leave because he and

 Fitzgerald believed he was out of time.        This conversation concerned Snipes

 because a previous major, Mathew Pilkenton, had once told him that he should not

 have suggested FMLA leave to an employee who was considering quitting due to

 mental health issues.2 Pilkenton had told Snipes that doing so would keep a


       2
           This statement was made by the Authority’s agent or employee in a matter
 within the scope of his employment, and it is therefore not inadmissible hearsay. See
 Fed. R. Evid. 801(d)(2)(D).
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 position at the jail open and unfillable until the employee decided whether or not to

 return. Snipes understood this statement to mean that employees who take FMLA

 leave are “sucking the system dry,” and that use of FMLA leave was generally

 looked down upon by jail administrators. Snipes Dep. 59:21–22, ECF No. 23-1.

 Pilkenton had been Lockhart and Kilgore’s direct supervisor, and he had trained

 them in their duties.

       At the conclusion of the meeting with Kilgore and Mullins, Snipes was

 given a list of subordinates and instructed to notify them that they had received

 interviews for a corporal position.    Snipes asserts that he spoke with or left

 messages for all of the interviewees. However, two individuals did not appear for

 their interviews, and one told Kilgore that Snipes had not contacted him. Around

 the same time, an inmate had a medical emergency during a shift from which

 Snipes had been excused. Tonia Henley was the sergeant on duty when the

 incident occurred, and Snipes contends that Henley did not contact him about it.

       On May 27, Kilgore mentioned the missed interviews and Snipes’ lack of

 knowledge about the medical emergency to Snipes, and Snipes became upset and

 cursed at Kilgore. Immediately after this interaction with Kilgore, Snipes went to a

 meeting that he was to lead prior to the start of the night shift. There were

 approximately twenty-eight of Snipes’ subordinates at this meeting. In front of

 these individuals, Snipes spoke to Henley about her communications with Kilgore


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 regarding the emergency during Snipes’ shift. Snipes lost his temper and raised his

 voice during this conversation, telling Henley that Kilgore was “jumping [his] ass”

 because of her communications with Kilgore about Snipes. Snipes Dep. 63:14,

 ECF No. 23-1. In a separate, private conversation the same day, Snipes spoke with

 one of the individuals who did not appear for the corporal interview.3 Snipes later

 told Kilgore and Lockhart that he had lost his cool with him and owed him an

 apology. In light of Snipes’ behavior during the meeting and the incidents leading

 up to it, Kilgore sent Snipes home from the May 27th shift. When Kilgore sent

 Snipes home, he stated, “With everything going on with your wife, I think it’s best

 you go home.” Snipes Dep. 67:15–16, ECF No. 23-1.

       In Kilgore’s opinion, Snipes had been losing the confidence of his

 subordinates prior to the May 27 incident.          During interviews for a corporal

 position on Snipes’ shift, Kilgore had heard from Snipes’ subordinates that they

 rarely saw Snipes during the shift because he stayed in his office. Kilgore had also

 observed this behavior himself. In February 2016, Kilgore had spoken with Snipes

 about the need for him to spend more time in the back of the jail with his

 subordinates rather than in his office. Kilgore had also written a memorandum to

 memorialize this conversation.




       3
           This individual is identified as “Woodleaf” or “Woodlief.”
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       In his deposition, Kilgore testified that the May 27 incident was the tipping

 point at which he recommended that Snipes’ employment be terminated. Lockhart

 agreed with Kilgore, and he received approval to terminate Snipes. On May 31,

 2016, Lockhart and Kilgore requested that Snipes come to the jail to meet with

 them. Snipes secretly recorded the meeting with his cell phone. At the beginning

 of the meeting, Snipes agreed that what he had done in the May 27 meeting was

 wrong and he had lost respect from everyone at the meeting. Lockhart told Snipes

 that his work performance had been declining, his behavior in the meeting was

 unacceptable, and his leadership and support for his staff was nonexistent. As an

 example of Snipes’ lack of leadership, Kilgore referenced the amount of time

 Snipes spent in his office rather than in the jail with his subordinates, and he stated

 that other employees had told him that there was no leadership on Snipes’ shift.

 Lockhart told Snipes that as a result, the Authority was terminating his

 employment. Snipes was also given an Employee Status Change form, which

 stated as the basis for his termination, “Leadership and support for staff is not

 acceptable.” Mot. Summ. J. Ex. 2, Pl.’s Initial Disclosures 8, ECF No. 23-2.

       In his deposition, Kilgore testified that the decision to terminate Snipes’

 employment stemmed from Snipes’ failure to interact with his staff outside of his

 office, along with his behavior in the May 27 meeting, change in demeanor, and

 use of profanity with an inmate. Kilgore also testified that Snipes’ behavior in the


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  May 27 meeting constituted a failure of leadership and misconduct, and the

  Employee Status Change form might not have included misconduct as a basis for

  Snipes’ termination because it could have harmed Snipes’ future employment

  prospects. Lockhart also testified in his deposition that Snipes’ behavior in the

  May 27 meeting amounted to misconduct and was part of the basis for his

  termination. Lockhart testified that he may not have included the full extent of

  Snipes’ misconduct on the Employee Status Change form in an effort to protect

  Snipes’ future employment prospects.

        Thereafter Snipes filed the present action against the Authority, alleging that

  it violated the FMLA by interfering with his use of FMLA-protected leave and

  retaliating against him for using FMLA-protected leave.        I dismissed Snipes’

  allegation of interference for failure to state a claim upon which relief may be

  granted. Snipes v. Sw. Va. Reg’l Jail Auth., 350 F. Supp. 3d 489 (W.D. Va. 2018).

  The Jail Authority now moves for summary judgment on Snipes’ remaining

  retaliation claim. The summary judgment motion has been fully briefed and orally

  argued and is now ripe for decision.

                                           II.

        Federal Rules of Civil Procedure require a court to grant a motion for

  summary judgment “if the movant shows that there is no genuine dispute as to any

  material fact and the movant is entitled to judgment as a matter of law.” Fed. R.


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  Civ. P. 56(a). A fact is material if its existence or non-existence could result in a

  different jury verdict. JKC Holding Co. v. Wash. Sports Ventures, Inc., 264 F.3d

  459, 465 (4th Cir. 2001). Only disputes over material facts will preclude the entry

  of summary judgment. Factual disputes that are irrelevant or unnecessary will not

  be counted.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). When

  ruling on a summary judgment motion, the court should consider the parties’

  pleadings, depositions, answers to interrogatories, admissions on file, and

  affidavits. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).      “[T]he court is

  required to view the facts and draw reasonable inferences in a light most favorable

  to the nonmoving party.” Shaw v. Stroud, 13 F.3d 791, 798 (4th Cir. 1994).

  However, the court may not itself weigh the evidence or determine the truth of the

  matter. Anderson, 477 U.S. at 249.

        Snipes contends that the Jail Authority terminated his employment in

  retaliation for his use of FMLA leave. In its Motion for Summary Judgment, the

  Jail Authority counters that it instead terminated Snipes for a legitimate,

  nondiscriminatory reason — his failure of leadership — that he cannot show was

  pretextual.

        The FMLA makes it unlawful for any employer to “discharge or in any other

  manner discriminate against any individual for opposing any practice made

  unlawful by [the FMLA].” 29 U.S.C. § 2615(a)(2). FMLA discrimination claims


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  are analogous to discrimination claims brought under Title VII of the Civil Rights

  Act (“Title VII”). Laing v. Fed. Express Corp., 703 F.3d 713, 717 (4th Cir. 2013).

  Thus, a court will evaluate a plaintiff’s FMLA discrimination claim using Title VII

  standards. Id. A plaintiff may successfully make an FMLA discrimination claim

  by providing direct evidence of discrimination or by satisfying the burden-shifting

  framework set forth in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973).

                                          A.

        A plaintiff provides direct evidence of discrimination if the evidence directly

  reflects the alleged discriminatory attitude and bears on the contested employment

  decision. Id. An employer’s accurate explanation of the FMLA’s requirements for

  employers and employees is also not evidence of discrimination. See Sharif v.

  United Airlines, Inc., 841 F.3d 199, 205 (4th Cir. 2016) (“factual communication

  between human resources personnel [and employees] is not, without more,

  evidence of discriminatory animus”); Laing, 703 F.3d at 718 (holding that a

  reasonable jury could not find evidence of a discriminatory attitude when the

  employer “accurately explained that the FMLA did not ‘necessarily’ require the

  company to keep [the employee]’s job open.”).         Further, employers may ask

  employees questions regarding their need for FMLA leave and the details of their

  leave. 29 C.F.R. § 825.302(c). Moreover, “[t]he FMLA does not impose ‘a

  general civility code for the American workplace.’” Hasenwinkel v. Mosaic, 809


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  F.3d 427, 434 (8th Cir. 2015) (quoting Burlington N. & Santa Fe Ry. Co. v. White,

  548 U.S. 53, 68 (2006)). “[P]etty slights or minor annoyances that often take place

  at work and that all employees experience” do not amount to discrimination.

  Burlington, 548 U.S. at 68. Direct evidence of discrimination cannot be based on

  the employee’s conclusory allegations or subjective beliefs. Mitchell v. Toledo

  Hosp., 964 F.2d 577, 584–85 (6th Cir. 1992).

        I find that there is no direct evidence of discrimination. Kilgore’s comment

  to Snipes in the May 24 meeting was a question regarding Snipes’ need for FMLA

  leave and a factual communication regarding his assessment of Snipes’ remaining

  FMLA leave.4 Accepting that he made this comment in an exhausted tone, this is

  no more than a petty slight that all employees may experience at work. Thus, it is

  not direct evidence of discrimination. Moreover, Pilkenton’s past comment to

  Snipes did not directly bear on Snipes’ termination, and Snipes’ conclusion that the

  comment reflected a negative attitude that Pilkenton had instilled in Kilgore and

  Lockhart is conclusory and insufficient to show direct evidence of discrimination.

  Accordingly, I will consider whether Snipes has satisfied the McDonnell Douglas

  burden-shifting framework.


        4
             Although the parties do not address Kilgore’s March 29, 2016, conversation
  with Snipes regarding Snipes’ failure to comply with the Authority’s FMLA reporting
  requirements and the Authority’s right to fire him if he exceeded twelve weeks of FMLA
  leave, I find that this statement was also a factual communication and not direct evidence
  of discrimination.
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                                           B.

        To successfully make a discrimination claim under the McDonnell Douglas

  framework, plaintiffs must first make a prima facie showing that (1) they engaged

  in protected activity, (2) the employer took adverse action against them, and (3) the

  adverse action was causally connected to the plaintiff’s protected activity.

  Yashenko v. Harrah’s NC Casino Co., 446 F.3d 541, 551 (4th Cir. 2006). Taking

  FMLA leave constitutes engaging in protected activity, and termination is an

  adverse action. Id. A close temporal relationship between these two events is

  sufficient to make a prima facie showing of causality, Laing, 703 F.3d at 720, and

  the Fourth Circuit has held that periods of two, three, and five months between

  them are sufficient to make this showing. Moss v. City of Abbeville, 740 F. Supp.

  2d 738, 745 (D.S.C. 2010) (citing cases).

        Once the plaintiff puts forth evidence sufficient to establish a prima facie

  case of discrimination, the burden shifts to the employer to put forth a legitimate,

  nondiscriminatory reason for the employment action.           Reeves v. Sanderson

  Plumbing Prods., Inc., 530 U.S. 133, 142 (2000). This burden is one of production

  rather than persuasion.     Id.   “[W]hen an employer gives a legitimate, non-

  discriminatory reason for discharging the plaintiff, ‘it is not our province to decide

  whether the reason was wise, fair, or even correct, ultimately, so long as it truly

  was the reason for the plaintiff’s termination.’” Hawkins v. PepsiCo, Inc., 203


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  F.3d 274, 279 (4th Cir. 2000) (quoting DeJarnette v. Corning, Inc., 133 F.3d 293,

  299 (4th Cir. 1998)).

        If the employer produces this evidence, the burden shifts back to the

  employee to prove by a preponderance of the evidence that the employer’s

  legitimate reason was a pretext for discrimination. Reeves, 530 U.S. 143. The

  employee may do so by showing that the employer’s proffered explanation is

  unworthy of credence. Id. “Prior satisfactory performance evaluations can be

  evidence that a more recent claim of poor performance is pretext for

  discrimination.” Moss, 740 F. Supp. 2d at 746–47. When the employer’s reason

  was based in the employee’s performance, evidence that the employer actually

  believed the performance was good may show that the reason was a pretext. See

  Hawkins, 203 F.3d at 279. It is “the perception of the decisionmaker which is

  relevant not the self-assessment of the plaintiff.” Holland v. Washington Homes,

  Inc., 487 F.3d 208, 218 (4th Cir. 2007) (quoting Beall v. Abbott Labs., 130 F.3d

  614, 620 (4th Cir. 1997)). Thus, an employee’s disagreement as to the quality of

  his or her work is irrelevant. Hawkins, 203 F.3d at 280.

        The Authority does not contest that the temporal proximity of Snipes’

  FMLA leave and termination is sufficient to make out his prima facie showing of

  discrimination. However, it asserts that Snipes’ termination was for a legitimate,

  nondiscriminatory reason — his misconduct and failure of leadership at the May


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  27 meeting and the lack of leadership and support for staff on his shifts. The

  Authority also argues that there is no evidence pursuant to which a jury could find

  that this reason was pretext for discrimination based on Snipes’ FMLA leave.

  However, Snipes contends that he has set forth evidence sufficient to raise a

  genuine issue of fact as to whether the Authority’s reason was pretext.

        Snipes argues that a jury could find that the Authority’s proffered reason for

  his termination was pretext because he has set forth evidence suggesting that the

  Authority’s concerns with his leadership were unworthy of credence. In particular,

  Snipes relies on the positive ratings he received for leadership and staff relations in

  his April 26, 2016, performance appraisal. Snipes also alleges that his superiors

  had discussed with him the need to spend more time outside of his office only

  once, rather than on numerous occasions, as the Authority contends. In addition,

  Snipes notes the lack of any disciplinary record regarding leadership issues or his

  interactions with his subordinates.

        I find, as the Authority has conceded, that Snipes has made a prima facie

  showing of discrimination. I also find that Snipes has set forth evidence sufficient

  to raise a genuine issue of fact as to whether the Authority’s reason for his

  termination was pretextual. In his performance appraisal, just a month before his

  termination for allegedly ongoing failures of leadership, Snipes was given high

  ratings in areas that are directly relevant to leadership. Moreover, the appraisal


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  rated his overall performance as competent, or clearly meeting the requirements of

  the position. Snipes’ termination occurred just a week after he had told Kilgore

  and Mullins that he may need to take more FMLA leave and Kilgore had reacted to

  this news negatively. Snipes also testified that a previous jail administrator had

  told him that he shouldn’t extend FMLA leave to employees because doing so

  creates an open position that the Authority cannot fill until the employee returns.

  Although the Authority has emphasized Snipes’ conduct at the May 27 meeting as

  a significant part of its reason for his termination, it is up to the jury to weigh this

  evidence against that described above to determine the issue of pretext.

  Accordingly, the Authority is not entitled to summary judgment as to Snipes’ claim

  that it violated the FMLA by discriminating against him for his use of FMLA-

  protected leave.

                                            III.

        For the foregoing reasons, it is ORDERED that the Motion for Summary

  Judgment, ECF No. 23, is DENIED.



                                                   ENTER: March 11, 2019

                                                   /s/ James P. Jones
                                                   United States District Judge




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